Case: 1:17-cv-00754-DRC Doc #: 87-7 Filed: 05/03/21 Page: 1 of 3 PAGEID #: 1607




        EXHIBIT G
Case: 1:17-cv-00754-DRC Doc #: 87-7 Filed: 05/03/21 Page: 2 of 3 PAGEID #: 1608




                                 Deposition of:
                            Stefan Boedeker
                                March 1, 2021


                                In the Matter of:

        Hawes, et al v. Macy's West Stores, Inc.




                           Veritext Legal Solutions
             800.743.DEPO (3376) | Calendar-carolinas@veritext.com |
                              www.veritext.com
 Case: 1:17-cv-00754-DRC Doc #: 87-7 Filed: 05/03/21 Page: 3 of 3 PAGEID #: 1609
                                    Stefan Boedeker                     March 1, 2021
                         Hawes, et al v. Macy's West Stores, Inc.

                                                                    Page 187

1                    MR. LEGANDO:     Objection.       Form.

2                    THE WITNESS:     Somehow I didn't hear the end of

3       the question.

4       BY MS. VAN ZANT:

5             Q.     Isn't it true that we're talking about in this

6       case in store sales, not Internet sales?

7                    MR. LEGANDO:     Same objection.

8                    THE WITNESS:     The sales at issue or in question

9       in this case were done in stores, but in this case the

10      panelists, the participants in the study will complete

11      the survey via the computer as an Internet based one.

12                   But the description of the purchase situation

13      will tell them that they were in the store looking at

14      bedsheets.     And I haven't done the path, but there will

15      be an introduction as to what purchase situation they are

16      in.

17      BY MS. VAN ZANT:

18            Q.     Right.   So, I mean, do you have any idea what

19      the average age of Macy's customers is?

20            A.     I have not the slightest idea, no.

21            Q.     And how would you, how would you make sure that

22      your population from the study mirrored the population

23      that was likely to buy sheets in a Macy's store?

24            A.     Before the actual conjoint menus are shown,

25      there is a whole list of questions that identify the

                                  Veritext Legal Solutions
     800.743.DEPO (3376)      calendar-carolinas@veritext.com        www.veritext.com
